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 6
                          UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
 9   MARIA MILAGROS TORRES,                   )   Case No.: 2:19-cv-05324-JVS-DFM
                                              )
10                Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
11         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
12   ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
     Commissioner of Social Security,         )   U.S.C. § 1920
13                                            )
                  Defendant                   )
14                                            )
                                              )
15
16         Based upon the parties’ Stipulation for the Award and Payment of Equal
17   Access to Justice Act Fees, Costs, and Expenses:
18         IT IS ORDERED that fees and expenses in the amount of $3,650.00 as
19   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
20   awarded subject to the terms of the Stipulation.
21   DATE: May 5, 2020
22                             ___________________________________
                               THE HONORABLE DOUGLAS F. MCCORMICK
23                             UNITED STATES MAGISTRATE JUDGE
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 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING
 3         /s/ Brian C. Shapiro
     _________________________
 4   Brian C. Shapiro
     Attorney for plaintiff Maria Milagros Torres
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